           Case 2:08-cr-00212-TLN-EFB Document 170 Filed 09/19/08 Page 1 of 2


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 4

 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                        ) Case No.: CR.S. 08-212 LKK
     United States of America,            )
 9                                        ) STIPULATION AND ORDER TO CONTINUE
                 Plaintiff,               ) STATUS CONFERENCE
10                                        )
           vs.                            ) Court: Hon. Lawrence K. Karlton
11                                        ) Time:   9:00 a.m.
                                          ) Date:   September 30, 2008
12   Michael Epps,                        )
                                          )
13               Defendant
14

15

16         Defendant Michael Epps is charged in a 43 count indictment.          Mr.
17   Epps is charged in Count One with a violation of 21 U.S.C. §§s
18   841(a)(1) & § 846 – Distribution and Conspiracy to Distribute
19   Methamphetamine and in Counts Ten and Eleven with the Use of a
20   Communication Facility in violation of 21 U.S.C. § 843(b).       A status
21   conference was previously set for September 23, 2008.        The parties
22   are involved in negotiations and believe the matter is close to
23   resolution. All parties request that the current status conference be
24   continued to September 30, 2008, and that date is available with the
25   Court.
26         The parties agree that time should be excluded under 18 U.S.C. §
27   3161(h)(8)(i) for defense preparation and under local code T4.
28   ///




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         Case 2:08-cr-00212-TLN-EFB Document 170 Filed 09/19/08 Page 2 of 2



 1   ///
     Dated: September 18, 2008         Respectfully submitted,
 2

 3

 4
                                      __/s/ Shari Rusk___
                                      Shari Rusk
 5                                    Attorney for Defendant
                                      Michael Epps
 6

 7
                                        /s/ Rick Bender
 8                                      /s/ Mary Grad
                                       Rick Bender and Mary Grad
 9
                                       Assistant United States Attorneys
10

11

12
                                       ORDER
13

14
          IT IS SO ORDERED.   The Court finds excludable time through
15
     September 30, 2008, based on Local Code T4, giving counsel reasonable
16
     time to prepare.
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18   DATED: September 19, 2008

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